        Case 3:23-cr-00056-VAB               Document 381           Filed 03/08/25         Page 1 of 22




                                 UNITED STATES DISTRICT COURT
                                   DISTRICT OF CONNECTICUT

    UNITED STATES OF AMERICA                              : Criminal No. 3:23-cr-56 (VAB)
                                                          :
                       v.                                 :
                                                          :
    DONELL ALLICK a.k.a. “D-Nice”                         : March 8, 2025

                       GOVERNMENT’S SENTENCING MEMORANDUM 1

         The Government respectfully submits this sentencing memorandum in connection with

defendant Donell Allick’s sentencing hearing, currently scheduled for March 19, 2025. For the

reasons detailed below, the Government asks that the Court adopt the findings of fact in the

Presentence Report (“PSR”). As per the parties’ plea agreement, the Government believes that any

term of imprisonment in this case should be served concurrent to the defendant’s 115-month

sentence in Case Number 22CR222(VAB), and that a sentence of at least 264 months but no higher

than the sentence given to codefendant TyJon Preston is appropriate. See Docket Entry Number

(“Dkt. Entry No.”) 285 at 5. 2

I.       BACKGROUND

         A.      Procedural History

         On August 2, 2023, a federal grand jury returned a Superseding Indictment charging

defendant Donell Allick, Jr. and eight other Exit 8 members or associates with various racketeering

and narcotics offenses, including sixteen attempted murders and three murders of rival gang



1
  Because the defendant has not yet submitted a sentencing memorandum, the Government requests to submit
additional briefing if warranted after reviewing that memorandum.
2
  In the parties’ written plea agreement, the Government agreed that it would “not advocate for a term of
imprisonment higher than the term of imprisonment meted out to any co-defendant in Case Number 23CR56(VAB).”
See Dkt. Entry No. 285 at 5. Defendant Quaymar Suggs received the highest sentence thus far of 250 months of
imprisonment. TyJon Preston and Donell Allick are the only two remaining defendants to be sentenced. Under the
terms of Preston’s binding plea agreement, the lowest possible sentence is 264 months. Accordingly, the
Government is asking for a sentence of at least 264 months, but no higher than the sentence that the Court ultimately
gives TyJon Preston who is scheduled for sentencing on March 18, 2025—the day before Allick.


                                                          1
      Case 3:23-cr-00056-VAB           Document 381         Filed 03/08/25      Page 2 of 22




members, from 2018 through 2023. See Dkt. Entry No. 80. Allick pleaded guilty to narcotics

conspiracy and the September 16, 2022 murder of Kenneth Cloud. See Dkt. Entry No. 285 at 5.

       B.      Plea Agreement and Sentencing Guidelines Stipulation

       As indicated above, on August 1, 2024, Allick pleaded guilty to racketeering conspiracy

with the special sentencing factor of murder (Count One). See Dkt Entry Nos. 285, 286. Although

the written plea agreement makes clear that it does not set forth all of the relevant facts that may be

considered by the Court, it contained the following factual stipulation:

              The parties stipulate that (1) from at least as early as 2018 until August
              2023, Donell Allick, Jr. was associated with the racketeering
              enterprise known as the “Exit 8” gang; (2) in furtherance of the Exit 8
              enterprise, Mr. Allick conspired to traffic various controlled
              substances, including fentanyl, heroin, crack, marijuana, oxycodone,
              and Percocet pills; (3) the narcotics quantity for which the defendant
              is responsible, as a result of his role in the conspiracy, is at least 100
              kilograms but less than 400 kilograms of converted drug weight; (4)
              throughout his association with the Exit 8 enterprise, Mr. Allick
              possessed, used, traded, and sold firearms, as did members of the Exit
              8 gang; (5) in furtherance of the Exit 8 enterprise, Mr. Allick
              committed acts of violence and conspired with and aided and
              abetted Exit 8 members to commit acts of violence, specifically, on
              or about September 16, 2022, Mr. Allick shot and killed, and aided
              and abetted in the same, Kenneth Cloud; ( 6) the violent acts
              committed by the defendant, and those he agreed to have happen
              and/or aided and abetted, were done to retaliate on behalf of the
              Exit 8 enterprise against rival gang members and to raise and
              maintain the reputation of the Exit 8 enterprise and the
              defendant’s association with the Exit 8 enterprise. The defendant
              knew that acts of violence and retaliation were expected of members
              and associates of the Exit 8 enterprise.

Dkt. Entry No. 285 at 4 (emphasis added).

       The Final Presentence Report calculates a final combined adjusted offense level of 40 and

with Criminal History Category III, a Guidelines range of 360 months of imprisonment to life in

prison. PSR ¶¶ 81, 90. As indicated above, in Case Number 3:22CR00222(VAB), the Court

imposed an effective sentence of 115 months of imprisonment on the defendant following his guilty



                                                  2
      Case 3:23-cr-00056-VAB           Document 381        Filed 03/08/25      Page 3 of 22




plea to unlawful possession of firearms by a felon and the jury’s return of a guilty verdict on three

drug trafficking offenses. As indicated above, the parties agreed that any sentence imposed in this

case should be served concurrently to the effective sentence imposed in Case Number

3:22CR00222(VAB), with the understanding that the defendant will continue to serve any

remaining portion of the sentence imposed in this case after the defendant completed serving the

effective 115-month sentence imposed in Case Number 3:22CR00222(VAB).

       C.      Underlying Facts

               1.      Background on Exit 8

       Donell Allick, Jr. was a member and associate of the New Haven street gang “Exit

8.” As this Court is well aware, this is a local street gang in New Haven named after the

geographic area accessed by exiting Interstate 91 at Exit 8 in New Haven.




In the period alleged in the superseding indictment, Exit 8 territory, and rival gang

territory, was plagued by shootings, murders, shots-fired incidents, and violent crimes.

Members of Exit 8 have had longstanding issues with other neighborhood gangs within

the city, specifically gang members from within the “Hill” (the southwestern-most

neighborhood of New Haven) and gang members from the area of New Haven known as

the “G” (an area based around a former housing complex in the Fair Haven section of


                                                  3
      Case 3:23-cr-00056-VAB          Document 381         Filed 03/08/25   Page 4 of 22




New Haven (the Farnam Courts housing complex). Violence between the groups is

retaliatory in nature and the more shootings and killings members committed, the higher

status they gained within the group and the more respect they obtained from other

members. Gang members used social media and rap videos to promote the Exit 8 gang,

proclaim their membership and association, and threaten rival gang members. They also

glorified violence and posted pictures with firearms on these platforms.

               2.     Donell Allick’s Association with the Exit 8 gang

       The investigation revealed that Allick, like many of the other defendants, used

Facebook to promote his gang affiliation. For example, on February 25, 2020, Allick,

using Facebook Account “CountUp Nice,” posted, “Lost [m]y Lil Woa Men That Shit

ain’t Sitting Right With Me [broken heart emojis] I love you lil bro (tagged Myers) Day

Honcho You really Got my Head Fucked Up! [emojis, broken heart emojis].”




This post occurred just two days after the date on which Dashawn Myers, a.k.a.

“Honcho,” an early member of the gang, was shot and killed, and it demonstrates Allick’s

loyalty to Myers. Similarly, on February 28, 2020, Allick reposted a picture of a male

wearing a memorial T-shirt for Myers and the message “#LongLiveHoncho (emojis)” in

conjunction with emojis including the eight-ball symbol.




                                                 4
      Case 3:23-cr-00056-VAB         Document 381       Filed 03/08/25     Page 5 of 22




On March 29, 2020, Allick posted the following message: “[D]on’t waste Ya Time

sending Threats (emoji) We ain’t Worried (emojis)” in a post targeted at opposition gang

members.




On April 18, 2021, Allick posted, “Talk to Me Nice OR Don’t Talk 2 Me Twice I Been In

My Bagg (emojis) #FreeBlam (Emoji) #LLKAY (emoji),” in a reference to freeing

Samuel Douglas (“Blam”) who was incarcerated at the time.




In another example of a post on Facebook, Allick antagonized opposition gang members:




                                                5
      Case 3:23-cr-00056-VAB          Document 381        Filed 03/08/25      Page 6 of 22




Similarly, on July 9, 2021, Allick posted “Mydawgbackbetterthanever” “Banupblamm.”

These are just some examples of the dozens of enterprise related Facebook messages that

Allick posted demonstrating his membership in the group. The Government would also

have relied on witness testimony at trial to explain Allick’s involvement in the gang.

               3.     Firearms Activity

There were also a number of video and posts on social media of Allick posing with

firearms and attempting to buy and sell them. The below are some examples:




                                                 6
      Case 3:23-cr-00056-VAB         Document 381       Filed 03/08/25   Page 7 of 22




In these messages, “jawn” and “bike” were used to refer to firearms.




                                               7
      Case 3:23-cr-00056-VAB           Document 381       Filed 03/08/25      Page 8 of 22




               4.      Narcotics Activity

       Like other Exit 8 gang members, Allick also used Facebook to advertise his

dealing in narcotics. For example, on July 14, 2020, Allick posted, “All My Niggas Trap

Or Die Nigga Just Like Jeezy!!” Investigators believe that, in this post, Allick was

indicating that he and other gang members were “trapping,” or selling narcotics, and that

they saw it as the only way of life for them.




       Below are some other examples:




    There are dozens of similar messages relating to his conspiracy to sell narcotics.




                                                 8
      Case 3:23-cr-00056-VAB          Document 381         Filed 03/08/25     Page 9 of 22




Finally, as this Court knows, Allick also shared a drug phone with codefendant Douglas

in September and October 2022 and the Government would have introduced at trial

dozens of narcotics related messages from that telephone. As introduced as evidence at

trial in the related 22CR222(VAB) case, Allick and Douglas were observed, through

surveillance and controlled buys, distributing fentanyl in September and October 2022,

and Allick was separately convicted of that narcotics conspiracy.

               5.      May 3, 2021 Attempted Murder of Jaimie Middlebrook and Milton
                       Lloyd

       At any trial in this case, the Government would also have introduced evidence of

shootings and other acts of violence in which Donnell Allick was involved. For example,

on May 3, 2021, at approximately 11:47 pm, NHPD officers responded to a call for a

person shot at 260 Forbes Avenue in New Haven—which is near, but not a part of Exit 8

territory. Upon arrival, officers observed that Jaimie Middlebrook and Milton Lloyd

(both associated with the G gang) had been shot. Middlebrook appeared to have

relatively minor wounds on his buttocks and one of his fingers. Lloyd, who was sitting in

the driver’s seat, was covered in vomit and appeared to be critically injured with a

gunshot wound to the head. The victims had been shot near the intersection of Brown

Place and Forbes Avenue, having just exited the Forbes Best Fuel gas station located at

401 Forbes Avenue. The vehicle they had been sitting in sustained over half a dozen

bullet holes throughout its exterior. Six .45 caliber fired cartridge casings were recovered

in and around the intersection of Forbes Avenue and Brown Place.

       Video surveillance footage indicated that the shooters’ SUV was consistent with

an Acura MDX, based on certain details of the car visible in the video. Witness testimony

and social media evidence established that Allick was driving a dark colored Acura MDX,



                                                 9
      Case 3:23-cr-00056-VAB            Document 381       Filed 03/08/25     Page 10 of 22




that belonged to Terry Portee (Allick’s cousin) at the time period of the shooting. Cell

phone toll records show that Allick and Portee were in contact shortly before and after the

shooting. Codefendant Jaedyn Rivera and Allick were also in contact during this time

period and Rivera took credit for the shooting over Snapchat with an opposition gang

member. Rivera and Douglas also texted about this shooting approximately twelve hours

after it occurred. Allick has not admitted his involvement in this attempted murder.

                  6.     September 16, 2022 Murder of Kenneth Cloud

           Allick did, however, take responsibility for the September 16, 2022 murder of

Kenneth Cloud. On that date at approximately 8:54 p.m., NHPD patrol officers were

dispatched to 244 Atwater Street for the report of gunfire. The first 911 caller reported

hearing twelve to fourteen gunshots in the area of Atwater Street and Dover Street. Two

additional 911 callers reported a person shot at 244 Atwater Street.

Officers found forty-two nine millimeter fired cartridge casings and eight projectiles

at the scene. The below picture from Google makes clear how completely residential the

area is:




The front door of the first-floor apartment of 244 Atwater (a two-story multi-family

residence) was struck by gunfire seven times, and, inside the apartment, officers located



                                                  10
      Case 3:23-cr-00056-VAB            Document 381       Filed 03/08/25      Page 11 of 22




one projectile behind the front door, one projectile in the kitchen, and three bullet holes

that had struck items inside the living room. A Honda Accord parked nearby had been

struck once in the rear driver’s side door. Also found at the scene near the shell casings

was an Audi-branded Fusebox cover.




Witnesses would testify that a black Audi sedan parked near the residence, and someone

got out of the car and said not to move, and then there were multiple gunshots. Ring

doorbell footage from a residence near where Cloud was shot shows a black sedan fleeing

the area at the time of the shooting.




                                                 11
Case 3:23-cr-00056-VAB   Document 381   Filed 03/08/25   Page 12 of 22




                                12
     Case 3:23-cr-00056-VAB           Document 381         Filed 03/08/25     Page 13 of 22




Kenneth Cloud was unresponsive with one gunshot wound to his back when investigators

arrived. He was the father of Allick’s girlfriend at the time (Kenasia Cloud). Kenneth

Cloud was transported to the hospital, where medical staff confirmed that a projectile was

lodged into his spine. Cloud was paralyzed from the neck down and ultimately passed

away from his injuries on December 19, 2022. The medical examiner would testify that

he was killed by gunshot wound.

       Witnesses would further explain that Kenneth Cloud and another identified

individual robbed Donall Allick of his and Samuel Douglas’ drug proceeds, which were

stored in a safe in Allick’s girlfriend’s house. Having been disrespected by having his

drug money stolen from him, Allick could not let the robbery go unpunished and went to

kill Cloud with another individual. Cell site location information shows Allick’s

cellphone traveling to Atwater Street and then being present at Atwater Street at the time

of the shooting before heading back to Exit 8 territory.

               7.      October 24, 2022 Search

       Significant evidence recovered during search warrants executed at Allick’s

residence on October 24, 2022, in connection with the separate narcotics and firearms

investigation described above, also connect Allick to this incident. Specifically, in

Allick’s bedroom, agents found an Audi key fob that matched an Audi parked outside the

residence at the time of the search. Agents had a warrant to search the Audi for narcotics-

related evidence. When they opened the trunk of the Audi, a 9mm shell casing fell out.

Officers stopped the search and sought an expanded warrant to cover firearms-related

evidence. In addition, the Audi was missing a fuse panel cover. As noted above, a fuse

panel cover of the same size/shape was found on the road outside of 244 Atwater Street at

the time of the shooting.


                                                 13
     Case 3:23-cr-00056-VAB          Document 381         Filed 03/08/25     Page 14 of 22




During the execution of that search warrant, agents also seized three firearms, including a

Glock 17 9mm handgun with a 33-round extended magazine, from inside Allick’s

residence and a Glock 26 9mm firearm with a 31-round extended magazine from another

car. Ballistics analysis revealed that the Glock 17 and the Glock 26 both likely fired 9mm

casings that were found on the scene at 244 Atwater Street and a DNA expert is expected

to testify that Allick’s DNA was linked to the grip and handle of the Glock 26 at a rate of

100 billion times more likely than unknown individuals. Each of the firearms is also

linked to additional shootings in Connecticut.




       Allick’s DNA profile also matched DNA evidence found in the Audi.



                                                 14
     Case 3:23-cr-00056-VAB         Document 381        Filed 03/08/25     Page 15 of 22




Finally, Allick waived his Miranda rights following the state search warrants and agreed

to speak with law enforcement. During the interview, which was video recorded, he took

responsibility for all four firearms found and told officers approximately how and when

he acquired each firearm, among other statements.

              8.      Victim Impact

       The Government has informed all of the victims of this proceeding. In a remarkable

display of grace, Louise Cloud, the victim’s mother submitted the following victim impact

statement.




                                               15
      Case 3:23-cr-00056-VAB          Document 381         Filed 03/08/25      Page 16 of 22




   Although all of the victims have been notified, they have not yet decided if any will attend

sentencing. The Government is not seeking restitution for any funeral or other expenses

connected with this sentencing.

II. LEGAL FRAMEWORK

       Following the Supreme Court’s holding in United States v. Booker, 543 U.S. 220, 243-45

(2005), which rendered the Sentencing Guidelines advisory rather than mandatory, a sentencing

judge is required to: “(1) calculate[] the relevant Guidelines range, including any applicable

departure under the Guidelines system; (2) consider[] the Guidelines range, along with the other

§ 3553(a) factors; and (3) impose[] a reasonable sentence.” United States v. Fernandez, 443 F.3d

19, 26 (2d Cir. 2006). The § 3553(a) factors include: (1) “the nature and circumstances of the

offense and history and characteristics of the defendant;” (2) the need for the sentence to serve

various goals of the criminal justice system, including (a) “to reflect the seriousness of the offense,

to promote respect for the law, and to provide just punishment,” (b) to accomplish specific and

general deterrence, (c) to protect the public from the defendant, and (d) “to provide the defendant



                                                  16
       Case 3:23-cr-00056-VAB         Document 381        Filed 03/08/25      Page 17 of 22




with needed educational or vocational training, medical care, or other correctional treatment in the

most effective manner;” (3) the kinds of sentences available; (4) the sentencing range set forth in

the guidelines; (5) policy statements issued by the Sentencing Commission; (6) the need to avoid

unwarranted sentencing disparities; and (7) the need to provide restitution to victims. See 18 U.S.C.

§ 3553(a).

        The Second Circuit reviews a sentence for reasonableness. United States v. Canova, 412

F.3d 331, 350 (2d Cir. 2005). The reasonableness standard is deferential and focuses “primarily on

the sentencing court’s compliance with its statutory obligation to consider the factors detailed in 18

U.S.C. § 3553(a).” Id.

III.    DISCUSSION

        As this Court has heard the Government argue repeatedly at prior sentencings, through his

participation in the Exit 8 gang, Donell Allick, Jr. and his coconspirators wreaked havoc on an

entire city. Allick was young, but not nearly as young as many of the other defendants in this

case and his crime was incredibly serious.

        A.     The Nature and Seriousness of the Offense

        Allick was involved in large scale drug trafficking; he maintained and was convicted of

possessing multiple firearms; he attempted to kill rival gang members; and he killed and aided

and abetting in the killing of another person who was shot outside of his home. The motive for

the murder appears to be nothing more than Allick had money stolen from him and refusing to go

through the police or ask for assistance from other law enforcement, he took matters into his own

hands. Kenneth Cloud did not deserve to be shot outside of his house and his family did not

deserve to live the trauma of his murder and have to watch him die. This brazen murder—

with forty-two bullets fired in a residential area—underscores the total disregard for the lives of

others that Allick and his codefendants showed when exacting their own misbegotten code of

vengeance.
                                                 17
     Case 3:23-cr-00056-VAB           Document 381        Filed 03/08/25      Page 18 of 22




       B.      History and Characteristics

       This is also not Allick’s first conviction. Leaving aside his other federal conviction, which

is related to the conduct here, Allick has a not insignificant record for someone of his age.

Moreover, he has a record marked by violence and guns. On September 15, 2016, he was convicted

of assault after shooting rival gang members and was reported to have bragged about it—telling

a witness that he had “touched” the victim and “I think I scored” —in other words, Allick

believed he had shot his target. See PSR ¶ 85. He also has an escape charge from 2018, which

was after he jumped out of a first-floor window to avoid his parole officer, see PSR ¶ 86 and

then he has the related federal charges here, see PSR ¶ 87. It is worth noting that the longest

consecutive period of incarceration that he has served before these cases was fourteen months and

sixteen days. See PSR ¶ 94.

       On the other hand, Allick also has incredibly tragic history. His father was murdered when

he was twelve years old and was shot through the window of the apartment he was living in at the

time as part of another gang related killing involving the Redside Guerilla Brims—also prosecuted

federally by this Office. Recognizing the vulnerable situation that Allick found himself in after the

murder of his father, the NHPD and U.S. Attorney’s Office employed considerable resources to try

to keep him away from trouble. Unfortunately, Allick continued the terrible cycle of violence that

had destroyed his family by attempting to kill and killing others. He knew personally what it did to

someone to lose a father and yet he took the life of his girlfriend’s father. It is for that crime and

his perpetuation of violence through and with the gang that he must be punished.

       C.      Promote Respect for the Law and Provide Just Punishment

       As the Government has previously brought to the Court’s attention, a 2017 Research Report

by the Urban Institute found that additional gunshots in the cities studied could be directly

associated with fewer jobs, fewer businesses opening, and more businesses closing. See Yasemin


                                                 18
     Case 3:23-cr-00056-VAB            Document 381       Filed 03/08/25      Page 19 of 22




Irvin-Erickson, et al., A Neighborhood-Level Analysis of the Economic Impact of Gun Violence

(Urban               Inst.             June              2017),              available              at

https://www.urban.org/sites/default/files/publication/90671/eigv_final_report_3.pdf (last visited

March 8, 2025). Similarly, a study published in November 2018 found that standardized test scores

for English Language Arts and math were approximately 50 percent lower in the elementary

schools located in areas with higher levels of gunshots. See Dessa Bergen-Cico, et al., Community

Gun Violence as a Social Determinant of Elementary School Achievement, 33 Soc. Work in Pub.

Health 439 (Issues 7-8) (2018), available at https://www.researchgate.net/publication/328944040_

Community_Gun_Violence_as_a_Social_Determinant_of_Elementary_School_Achievement (last

visited March 8, 2025). This case and the amount of violence for which the defendants were

responsible had significant repercussions on their communities. In order to give other children a

chance, those who make communities unsafe to live in must be punished and incarcerated for some

significant period of time so that the community can heal.

         D.     Need to Accomplish Specific and General Deterrence

         Engaging for years in a violent street gang even after previously serving time in prison for

a state assault and then not only shooting—but actually killing another person—are extraordinarily

serious offenses. Allick has previously shot people and has not been deterred. He has repeatedly

attempted to flee from law enforcement when they have arrived to execute arrest warrants.

Unfortunately, even while incarcerated at Wyatt, Allick has accrued numerous disciplinary tickets

and as indicated in the PSR has displayed disrespect towards staff members. See PSR ¶ 7. It can

be hoped that Allick is sufficiently deterred and remorseful, but the period of incarceration to which

he is sentenced should reflect the seriousness of his offense conduct, but also consider how best to




                                                 19
      Case 3:23-cr-00056-VAB          Document 381         Filed 03/08/25      Page 20 of 22




deter any future criminality. General deterrence is also a factor that the Court should consider

especially in a case like this one with a number of defendants and one that has received

significant attention.

       E. The Need to Protect the Public

       Finally, the need to protect the public weighs heavily in favor of a lengthy sentence.

During the ongoing gang war in which Exit 8 members were eager participants, the cities of

Connecticut endured the worst violence seen in decades. Gun violence has been increasing

across the country in recent years. See John Gramlich, What the data says about gun deaths in the

U.S. (Pew Research, Feb. 3, 2022), available at https://www.pewresearch.org/fact-

tank/2022/02/03/what-the-data-says-about-gun-deaths-in-the-u-s/ (“The 45,222 total gun deaths in

2020 were by far the most on record, representing a 14% increase from the year before, a 25%

increase from five years earlier and a 43% increase from a decade prior.”) (last visited July 27,

2024). In the cities of New Haven, Waterbury, Hartford, and Bridgeport, there were a total of

eighty homicides committed with firearms in 2021. There are some good signs that Allick will

try to change his life around, but unfortunately he has not shown the willingness or ability to do

so while not incarcerated yet. Until he has fully learned that he can never use firearms, the public

needs to be protected.

       F. Special Conditions of Supervised Release

        The Government agrees with the proposed special conditions of supervised release set

forth in the PSR at paragraph 149. All are connected to the defendant and his personal history.

The mental health and substance abuse programs are tied to his own disclosed history in the PSR

and the search condition is reasonable in light of his arrest history and the fact that he has been

found with guns and drugs.




                                                  20
      Case 3:23-cr-00056-VAB         Document 381       Filed 03/08/25      Page 21 of 22




IV.    CONCLUSION

       For the foregoing reasons, a sentence of at least 264 months to run concurrently with his

other federal sentence is minimally necessary to achieve the purposes of sentencing.

                                            Respectfully submitted,

                                            MARC H. SILVERMAN
                                            ACTING UNITED STATES ATTORNEY

                                            /s/ Jocelyn Courtney Kaoutzanis

                                            JOCELYN COURTNEY KAOUTZANIS
                                            Fed. Bar No. CT30426
                                            ASSISTANT U.S. ATTORNEY
                                            U.S. Attorney’s Office
                                            157 Church Street
                                            New Haven, CT 06510
                                            (203) 821-3700




                                               21
     Case 3:23-cr-00056-VAB           Document 381        Filed 03/08/25      Page 22 of 22




                               CERTIFICATION OF SERVICE

       I hereby certify that on March 8, 2025, a copy of the foregoing was filed electronically, by
facsimile and served by mail on anyone unable to accept electronic filing. Notice of this filing will
be sent by e-mail to all parties by operation of the Court’s electronic filing system or by mail to
anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the Court’s CM/ECF System.


                                                      /s/ Jocelyn Courtney Kaoutzanis

                                                      JOCELYN COURTNEY KAOUTZANIS
                                                      ASSISTANT U.S. ATTORNEY




                                                 22
